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UNITED STATES DlSTR|CT COURT
M|DDLE D|STR|CT OF FLOR|DA
JACKSONV[LLE DlVlS|ON

UNITED STATES OF AN|ER|CA
Case Number: 3:17-cr-147-J-32PDB

 

V

MiGuEi_ PAcHEco-LOPEZ USN' Number: 69025'013
Waffa Hanania, FPD
Suite 1240

200 W Forsyth St
Jacksonvi||e, FL 32202-4326

JUDGNIENT lN A CR|NI|NAL CASE

The defendant pleaded guilty to Count One of the lndictment. The defendant is adjudicated guilty of this offense:

Date Offense Count
Title & Section Nature of Offense Conc|uded Number(sl
8 U.S.C. § 1324(a)(1)(A)(iv), Encouraging or inducing an Alien to Nlay 2017 One

8 LJ.S.C. § 1324(3)(1)(3)(ii) Come To. Enter, or Reside in the
United States in Violation of Law

The defendant is sentenced as provided in pages 2 through 3 of this judgment The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

|T |S ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name residence or mailing address until all fines restitution costs and special assessments imposed by thisjudgment are
fully paid. lf ordered to pay restitution the defendant shall notify the court and United States attorney ofany material change
in the defendantl s economic circumstancesl

Date of imposition of Sentence:

February 23, 2018

TiiviqlTHY J. co§KiGAN
uNiTEr) sTATEs oisTRicT JquE

February§z; ,2018

 

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Migue| Pacheco-Lopez
3:17-cr-147-J-32PDB

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of TlN|E SERVED PLUS SEVEN (7) DAYS, WlTH A RELEASE DATE OF MARCH 2, 2018. NC SUPERV|S|ON
TO FOLLOW.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at . with a certified copy of this judgment
UN|TED STATES l\/|ARSHAL
By:

 

Deputy U.S. lVlarshal

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Miguel Pacheco-Lopez
3:17-cr-147-J-32PDB

SUPERV|SED RELEASE

No term of supervised release is imposed. However, Defendant must cooperate in the collection of DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

Assessment JVTA Assessment 1 Fine Restitution

TOTALS $1 00.00 $0 $0 $0

SCHEDULE OF PAYMENTS
The Special Assessment in the amount of $100.00 is due in full and immediately
Having assessed the defendants ability to pay, payment of the total criminal monetary penalties shall be due as follows:
Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment Al| criminal monetary
penalties, except those payments made through the Federa| Bureau of Prisons’ inmate Financia| Responsibility Program,
are made to the clerk of the courtl unless othen~ise directed by the court, the probation oft"icer, or the United States attorney.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed
Payments shall be applied in the following order1 (1) assessmentl (2) restitution principa|, (3) restitution interest, (4) fine

principall (5) fine interest, (6) community restitution, (7) JVTA assessment (8) penalties, and (9) costsl including cost of
prosecution and court costs.

 

' Justice for Victims of Trafficl<ing Act of 2015, Pub. L. No. 114-22.
" Findings for the total amount of losses are required under Chapters 109A, 110, 110Al and 113A of Tctle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

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